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                          EXHIBIT O
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                Buy     Rent     Sell       Get a mortgage     Find an Agent
                                                                                                             wow                                             Manage Rentals        Advertise       Help    Sign In




                                                             Zillow Listing Access Standards
                                     Welcome and thank you for your interest in Zillow. By using Zillow's services, including but not limited to our online display of
                                     properties listed for sale, whether such listings are delivered to us by the listing agent or any authorized third party, directly or
                                     through a data feed (collectively, the "Services"), you acknowledge and agree to the following Listing Access Standards
                                     ("Standards'), as may be updated or modified at any time:



                                        1. Purpose. The purpose of these Standards is to support Zillow's belief that consumers and agents deserve fair and
                                           transparent access to all real estate information and to provide sellers with informed choice on how their listings will be
                                           marketed. For more information, visit https://advocacy.zillowgroup.com/.

                                            Scope. These Standards apply to real estate brokerages and their licensed agents utilizing the Services and the Zillow Sites
                                            (as defined below).

                                        3. Marketing Listings. Within one (1) business day of publicly marketing any property that is subject to an exclusive
                                           agreement to list the property for sale ("Listing"), the listing agent must (a) place the Listing in a Multiple Listing Service,
                                           ("MLS") for distribution and display on other MLS participants' websites, including but not limited to the Zillow.com website
                                           and mobile apps and the Trulia.com website and mobile apps (collectively, the "Zillow Sites.) or (b) make the Listing available
                                           for display on the Zillow Sites directly or through a syndication feed (e.g., broker data feeds, StreetEasy syndication feed,
                                           OutEast syndication feed). For purposes of these Standards, an MLS is a centralized database, whether or not affiliated with
                                           the National Association of Realtors® ("NAIL'), through which cooperating real estate professionals from different
                                           brokerages share information about properties for sale in a particular geographic region.

                                        4. Definition of "Public Marketing."
                                            a. For the purposes of these Standards, "public marketing, means (i) promoting, marketing, or advertising a Listing in any
                                               manner, including without limitation, flyers, yard signs, social media, public-facing websites or apps, e-mails, mailers,
                                               newspapers, open houses, previews, showings, multi-brokerage listing sharing networks, virtual tours, and brokerage
                                               private listing networks to extent such listing network is publicly marketed and/or accessible to consumers, including
                                               those accessible only to a Brokerage's clients behind a registration wall; and/or (ii) sending and/or transmitting a Listing,
                                               regardless of status, to an MLS, unless seller opts out of the display of the Listing everywhere on the internet due to
                                               privacy concerns, and executes a Seller Waiver (as defined below).
                                            b. For purposes of these Standards, a Listing is not considered "publicly marketed" if all of the following conditions are
                                               met
                                                   i. The seller directs the listing agent in writing not to disseminate the Listing in the MLS;
                                                  ii. The Listing is shared only among agents within the listing brokerage and their clients through 1:1 communication;
                                                 iii. The Listing is not otherwise publicly marketed as defined in these Standards; and
                                                 iv. The seller for such Listing has signed a waiver/opt-out form that specifically directs the listing agent not to publicly
                                                      market the Listing on websites and platforms accessible to the general public and includes sufficient information to
                                                      allow the seller to consider the potential drawbacks of withholding it from the general public ("Seller Waiver').
                                            c. For clarity, Listings in a brokerage's private listing network are considered "publicly marketed" under these Standards if
                                               either of the following applies:
                                                   i. The private listing network, or a broker's inventory of off-MLS listings, is actively marketed to consumers, including
                                                      through any public-facing website; or
                                                  ii. Consumers can access the Listings behind a login or registration wall.

                                        5. Non-Compliant Listings. If a publicly marketed Listing is not submitted in compliance with these Standards, we will not
                                           accept such Listing for display on the Zillow Sites (whether directly or through an MLS or other third party data feed) at any
                                           time for as long as the Listing is with the same listing agent and/or the same listing brokerage, whether or not subject to the
                                           initial listing agreement or any amended or subsequent listing agreement with the same brokerage. We reserve the right to
                                           enforce this provision in our sole discretion

                                        6. Applicability of Policy; MLS Rules. These Standards apply to Listings regardless of any applicable MLS rule, or any other
                                           local regulation or rule, that allows agents to publicly market an off-MLS listing for any period of time exceeding the one
                                           business day permitted in these Standards.




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